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IN THE CIRCU[T COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR

DUVAL CoUNTY, FLoRn)A
CHARLES (LEE) CROWE CASE No.= 16-2012-cA-003707
Piaimin; DIVISION: Cv-E
V.
3 ‘_ l Z-C,V»] ZSS'S'VTSC’MLL

BGR ACQUISITION, LLC, a Florida
limited liability company, SUNCREST
HEALTHCARE, INC., a foreign
corporation, ENTERPRISE FLEET
MANAGEMENT, INC., a foreign
corporation

Defendants. f
AMENDED COMPLAINT

COME NOW the Plaintit`f, CI-IARLES (LEE) CROWE and sues Dei`endants, BGR
ACQUISI'I`ION, LLC, a Florida limited liability company, SUNCREST HEALTHCARE,
INC., a foreign corporation, ENTERI’RISE FLEET MANAGEMENT, INC., a foreign
corporation, and allege:

Q_QM_I

l. This is an action for damages that exceed the sum of 315,000.00 exclusive of costs
and interestl

2. At all times material hereto, Defendant, BGR ACQUISITION, LLC, was and is a
Florida limited liability company, duly licensed to conduct business and doing business within the
State of Florida, and wholly owned by Del"endant, SUNCREST I'IEALTHCARE, INC.

3. At all times material hereto, Defendant, SUNCREST HEALTHCARE, INC., was

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and is a foreign profit corporation, duly licensed to conduct business and doing business within the

State of Florida.

4. At all times material hereto, Det`endant, ENTERPRISE FLEET MANAGEMENT,
INC., was and is a foreign profit corporation, duly licensed to conduct business and doing business
within the State of Florida.

5. At all times material hereto, Defendant, BGR ACQUISITION, LLC, employed
ROSEMARIE CHURCHILL.

6. On or about June 16, 201 l , ROSEMARIE CHURCHILL, operated a motor vehicle,
owned by Defendant, ENTERPRISE FLEET MANAGEMENT, INC, on State Road 134, also
known as 103rd Street, at or near its intersection with I-295 in Jacksonville, Duval County, Florida,
and caused it to crash into a motor vehicle owned and operated by Plaintiff, CHARLES (LEE)
CROWE.

7. At the time and place of the collision, ROSEMARIE CHURCHILL, negligently
operated the vehicle she was driving, while in the course and scope of her employment with the
Defendant, BGR ACQUISITION, LLC, and it is responsible for her negligence

8. As a direct and proximate cause of ROSEMARIE CHURCHILL’s negligence,
Plaintiti`, CHARLES (LEE) CROWE, suH`ered bodily injury and resulting pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn
money, and aggravation of a previously existing condition The losses are either permanent or

continuing and Plaintiff will suffer the losses in the future.

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9. This action is not subject to the tort threshold requirements contained in Florida
Statute Annotated Section 627.737 as Plaintil`f, CHARLES (LEE) CROWE, has sustained
permanent injuries within a reasonable degree of medical probability as well as permanent and
significant scarring and disfigurement

WHEREFORE, Plaintiff, CHARLES (LEE) CROWE demand judgment for compensatory
damages plus costs against Defendants, BGR ACQUISITION, LLC, SUNCREST

HEALTHCARE, INC., and ENTERPRISE FLEET MANAGEMENT, INC., and demand trial

byjury ot` all issues contained herein.

BA ES ' OHEN, P.A.

 

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